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                                                                                       FILED
                       IN THE UNITED STATES DISTRICT COURT


                       FOR THE EASTERN DISTRICT OF VIRGINIA                           OCT 2 3 20^u

                                        Norfolk Division
                                                                               CLERK, U.S. DISTRICT COUf
                                                                                       NORFOLK, VA

 UNITED STATES OF AMERICA


        V.                                                  Criminal No. 2:20cr59-l


 BRIAN TAYLOR SUMNER,

        Defendant.



                                              ORDER


        Upon the motion ofthe defendant,BRIAN TAYLOR SUMNER,by and through counsel,

 and with the agreement ofthe Government, by and through its counsel, it is hereby,

                                   1. Discovery and Inspection

        ORDERED pursuant to Fed, R. Crim. P. 16(a), that no later than seven calendar days

 before trial, unless for good cause shown:

        1. The government shall disclose to the defendant and make available for inspection,

 copying, or photographing: any relevant written or recorded statements made by the defendant,

 or copies thereof, within the possession, custody, or control of the government, the existence of

 which is known, or by the exercise of due diligence may become known,to the attorney for the

 government; that portion of any written record containing the substance of any relevant oral

 statement made by the defendant whether before or after arrest in response to interrogation by

 any person then known to the defendant to be a government agent; recorded testimony of the

 defendant before a grand jury which relates to the offense charged; and the substance of any

 other relevant oral statement made by the defendant whether before or after arrest in response to
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 interrogation by any person then known by the defendant to be a government agent if the

 government intends to use that statement at trial.

        2. The government shall furnish to the defendant such copy of his prior criminal record,

 if any, as is within the possession, custody, or control of the government, the existence of which

 is known, or by the exercise of due diligence may become known, to the attorney for the

 government.

        3. The government shall permit the defendant to inspect and copy or photograph books,

 papers, documents, data, photographs, tangible objects, buildings or places, or copies or portions

 thereof, which are within the possession, custody or control of the government, and which are

 material to the preparation of his defense or are intended for use by the government as evidence

 in chief at the trial, or were obtained ftom or belong to the defendant.

        4. The government shall permit the defendant to inspect and copy or photograph any

 results or reports of physical or mental examinations, and of scientific tests or experiments, or

 copies thereof, which ai'e within the possession, custody, or control of the government, the

 existence of which is known, or by the exercise of due diligence may become known to the

 attorney for the government, and which are material to the prepamtion of the defense or are

 intended for use by the government as evidence in chief at the trial.

        It is further ORDERED that

        5. The government shall disclose to the defendant no later than ten business days before

 trial, a written summary of testimony the government intends to use under Rules 702, 703, or

 705, Federal Rules of Evidence, at trial, unless the expert testimony is to be offered in

 response to a previously-noticed expert of a defendant, in which case the disclosure pursuant to

 paragraph section must be provided not later than five business days prior to trial. This summary
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  shall describe the witnesses' opinions, the bases and reasons therefor, and the witnesses'

  qualifications. In an appropriate case, and for good cause shown, either party may move the

  Court for an Order requesting earlier or later disclosure ofexpert witness notice and summaries.

         It is further ORDERED pursuant to Fed. R. Ceum. P. 16(b), that upon government

 compliance with the foregoing,

         6. The defendant shall permit the government to inspect and copy or photograph books,

 papers, documents, data, photographs, tangible objects, or copies or portions thereof, which the

 defendant intends to use in the defendant's case-in-chief at trial.

         7. The defendant shall permit the government to inspect and copy or photograph any

 results or reports of physical or mental examination and of scientific test or experiments made in

 connection with the particular case, or copies thereof, within the possession or control of the

 defendant, which the defendant intends use in the defendant's case-in-chief at trial or which were

 prepared by a witness whom the defendant intends to call at the trial when the results or reports

 relate to his testimony.

         8. The defendant shall disclose to the government no later than ten business days before

 trial, a written summary of testimony the defendant intends to use xmder Rules 702, 703, and

 705, Federal Rules of Evidence, as evidence at trial unless the expert testimony is to be

 offered in response to a previously-noticed expert of the government, in which case the

 disclosure pursuant to this paragraph must be provided not later than five business days prior to

 trial. This summary shall describe the witnesses' opinions, the bases and reasons therefor, and

 the witnesses' qualifications. In an appropriate case, and for good cause shown,either party may

 move the Court for an Order requesting earlier or later disclosure of expert witness notice and

 summaries.
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                              11. Federal Rule of Evidence 404rb^


        It is further ORDERED that, no later than seven calendar days before trial, the

 government shall provide notice to the defendant, in accordance with Fed. R. Evid. 404(b), of

 the general nature of any evidence of other crimes, wrongs, or acts of defendant which it intends

 to introduce at trial, except that, upon motion of the government and for good cause shown, the

 court may excuse such pretrial notice.

                                          III. Bradv Material


        It is further ORDERED that the government shall comply with its obligations to produce

 promptly exculpatory material as required by Bradv v. Maryland. 373 U.S. 83(1963)and United

 States V. Amirs.427 U.S.97(1976).

                                    IV. Jencks/Glglio Materials

        It is further ORDERED that, no later than five calendar days before trial, the government

 shall produce to the defendant the Jencks Act and Giglio materials for the witnesses who will

 testify in the government's case in chief.

        Counsel for the defendant may disclose the contents of said Jencks Act and Giglio

 materials to his client, but may not provide his client with said documents or reproductions

 thereof.


        At the request of the government and consistent with the ethical responsibilities of

 defense counsel, all Jencks Act, Giglio materials and reproductions thereof shall be returned to

 the United States Attorney's Office foithwith at the conclusion ofthe litigation ofthe case.

        It is fiirther ORDERED pursuant to Fed. R. Grim.P. 26.2, that no later than five calendar

 days prior to trial, the defendant, by and through his counsel, shall produce to the government the

 statements ofany witness, other than the defendant, who will testify on behalfofthe defendant.
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                                         V. Notice ofAlibi

         It is further ORDERED pursuant to Fed.R. Grim.- P. 12.1 that, no later than 20 calendar

  days before trial, the defendant, by and through counsel, shall comply with Rule 12.1(a) if the

  defendant intends to offer a defense of alibi, and further that the defendant and the government

  shall comply with Rules 12.1(b)and(c) within the time period set out in those rules, except upon

  motion ofthe parties and for good cause shown.

                                            VI. Stipulations

         It is further ORDERED that the parties shall file proposed stipulations with the Court no

  later than three business days before trial. Additional stipulations may be submitted thereafter by

  the parties upon approval by the Court.                                       /s/K>o /-i
                                                                 Dougicis E. fviiiiar^ I
                                                                 [inited States Magistrate Judge
                   ^n                                          United States Magistrate Judge
  Date: October         .2020
         Norfolk,Virginia


  We a^mr this



         Jam^s^chard Theuer,Esq.
               sel for Defendant,Brian Taylor Suraner


         G.Zachaiv Terwilliger
         United i^es Attorney

  By:
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